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        EXHIBIT 120
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        From:               Farzan, Ranna L [ranna_farzan@harvard.edu]
       Sent:                Friday, June 13, 2014 3:13:05 PM
       To:                  Ryan, James E.; Avery, Christopher; Banaji, Mahzarin; Byrne, Patricia M.; Canfield, Michael;
                            Carrasco, David; Chetty, Nadarajan; Dingman, Thomas A.; Ely, Robin J.; Fallon, Richard;
                            Fitzsimmons, William; Forsyth, Ann; Hammonds, Evelynn; Jha, Ashish; Katz, Lawrence; Kennedy,
                            Randall; Leopold, Deirdre C.; Mayer, Robert J.; Soban, Jessica Lynn; Warikoo, Natasha Kumar;
                            Driver-Linn, Erin; Gershengorn, Ara B; Goodheart, Marc; luliano, Robert
       CC:                  Kim_Bremner@dfci.harvard.edu; Dial, Christopher; Higbe, Charlene; Jilek, Tiffany Lee; Kearney,
                            Susan; Lamond, Margaret; Martin, Torey; Murphy, Jean; Pacholok, Olesia; Rom, Suzanne; Shack,
                            Monica S
       Subject:             Re: Ryan Committee
       Attachments:         Agenda June 26 2014.PDF; committee charge.pdf; OGC Fisher Client Advisory.PDF

       Dear Committee members,
       Thank you for your responses. I am writing to let you know that our first meeting will be June 26, 2014, 1:00pm-2:30pm in the
       Perkins Room at Massachusetts Hall.
       In advance of the meeting, we thought it would be helpful to send the meeting agenda and some very limited introductory
       information. Therefore, attached here, please find a copy of the charge to the Committee and a brief summary of the
       Supreme Court's Fisher decision. We will be setting up a shared site with additional reading information for anyone who
       would like to access it and will provide more information about that going forward.
       Please let me know if you have any questions.
       Best,
       Ranna
       From: Farzan, Ranna L
       Sent: Wednesday, June 11, 2014 3:13 PM
       To: Ryan, James E.; Avery, Christopher; Banaji, Mahzarin R.; Byrne, Patricia M.; Canfield, Michael Ross; Carrasco, David; Chetty, Nadarajan;
       Dingman, Thomas A.; Ely, Robin J.; Fallon, Richard; Fitzsimmons, William R.; Forsyth, Ann; Hammonds, Evelynn M.; Jha, Ashish; Katz,
       Lawrence F.; Kennedy, Randall; Leopold, Deirdre C.; Mayer, Robert J.; Soban, Jessica Lynn; Warikoo, Natasha Kumar; Driver-Linn, Erin;
       Gershengorn, Ara B; Goodheart, Marc; luliano, Robert
       Cc: Jilek, Tiffany Lee; Kearney, Susan; Murphy, Jean; 'Pacholok, Olesia'; Shack, Monica S
       Subject: Ryan Committee
       Dear committee members,
       On behalf of President Faust and Dean Ryan, thank you again for agreeing to serve on the committee. I will be working with
       Dean Ryan on scheduling and other logistical issues, so please do not hesitate to be in touch if there's anything I can do as the
       committee's work gets underway.
       Dean Ryan is hoping to schedule the first meeting as soon as possible, as early as next week. Set forth below are two options
       (the meeting will be 90 minutes at Massachusetts Hall). We recognize the short notice and difficulties of finding a common
       time, so we'll select whichever date works for the most people. Please let me know of your availability as soon as possible.
       Monday, June 16: 11-12:30pm
       Thursday, June 26: 1:00pm-2:30pm
       Thank you for your flexibility in scheduling this meeting. If you have an assistant or scheduler, please let me know so that I
       can copy him or her going forward.
       Best,
       Ranna
       Ranna L. Farzan
       Executive Assistant to Robert luliano
       Senior Vice President and General Counsel
       Harvard University
       Massachusetts Hall
       Cambridge, MA 02138
       617.495.4778
       ranna farzan@harvard.edu




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                               Committee on Student Body Diversity
                                                          June 26, 2014

                                                    1:00pm — 2:30pm

                                           Perkins Room, Massachusetts Hall



                                                           AGENDA



                1. Welcome/Introductions

                                     Redacted:
                              Attorney-Client Privilege              Tuliano)

                3. Review of the charge and defining the task of the Committee

                4. Identifying data/information needed

                5. Looking forward: rough timeline




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             Charge to the Committee

             Harvard's admissions processes, including the individualized holistic review through which we
             evaluate applicants, have long been important features of our institution. They are the means by
             which we have created and maintained a vibrant academic community with students who are
             talented and diverse in their intellectual interests, backgrounds and experiences, socio-economic
             status, geography, race and ethnicity, perspectives, and aspirations. Appreciating that our
             institution may be the first place where many students are exposed to so many others whose
             backgrounds differ markedly from their own, Harvard seeks students who will broaden and
             challenge each other not only in our classrooms, but in laboratories and clinics, student
             organizations and activities, residences and dining halls, on the fields, and on the stage. As a result
             of their experiences here, we believe that our students leave Harvard better prepared, better
             educated, and better able to advance knowledge, promote understanding, and serve society.

             Harvard has repeatedly expressed its belief that diversity of many kinds, including racial diversity,
             contributes to the achievement of our educational mission. In the Supreme Court's Bakke decision
             in 1978, Justice Powell's pivotal opinion concluded that the benefits to the educational process
             flowing from a diverse student body constitute a legally compelling interest sufficient to justify the
             consideration of race in admissions. Justice Powell specifically pointed to the Harvard College
             admissions process—then, as now, a highly individualized, holistic review of each application, with
             an applicant's race potentially considered as one factor among many - as an "illuminating example"
             of an admissions program that properly advances the compelling educational interest in student
             diversity. Since that time, the legal framework for evaluating diversity in the context of university
             admissions has received further attention from the Supreme Court - first, in the 2003 cases
             involving the University of Michigan (Grutter and Gratz) and in last year's case from the University
             of Texas at Austin (Fisher). In these decisions, the Court has continued to find that colleges and
             universities may permissibly consider race as part of an effort to create a diverse student body
             whose members contribute to one another's educational experience. The Court has asked,
             however, that universities have a "reasoned, principled explanation for the academic decision"
             about the educational benefits of diversity and that they evaluate "whether [they] could achieve
             sufficient diversity without using racial classifications."

             As part of Harvard's ongoing efforts to consider these issues, and in view of the Supreme Court's
             precedent on race-conscious admissions in higher education, the committee is asked to consider
             the following questions:

                 •   How does a diverse student body, including a racially diverse student body, contribute to
                     Harvard's educational objectives and mission? What influence does the diversity of the
                     student body, including racial diversity, have on how Harvard students learn in the
                     classroom, in extracurricular activities, and in the range of informal interactions that are
                     hallmarks of a principally residential campus? How, if at all, does the exposure of students
                     to diversity while on campus influence their lives after graduation, including in their
                     careers, as active and informed citizens and potential leaders, and in pursuing lives of
                     meaning and of value to society?




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                •   What are the strengths and limitations of the ways we consider diversity in our current
                    admissions processes? What alternatives - including alternatives that preclude any
                    consideration of an applicant's race - are there to the current approach, and would those
                    alternatives as effectively achieve the educational benefits of diversity? Would these
                    alternatives impair Harvard's ability to achieve other important academic, educational, and
                    institutional interests and objectives? Are alternatives practically feasible?

             In considering these questions, the committee should identify appropriate sources of information
             that might include qualitative information, anecdotal evidence, studies with measurable objectives,
             internal research, external research, recent scholarship, or historical information. The committee
             will also want to determine whose input to seek in considering these questions, including potential
             outreach to students, faculty, alumni, members of the administration, and others. The committee is
             asked to make findings regarding Harvard's current approaches to admissions in keeping with the
             questions outlined above. The committee also should consider any recommendations for changes
             to Harvard's admissions processes and other activities to better achieve our goals.




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